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EXHIBIT A

 
 

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District Court Arapahoe County, Colorado
Court Address:
7325 South Potomac Street, Centennial, Colorado 80112

 

Plaintiff(s): Raymond Khan A courRTUSEONLY A

v. - Case Number, 2019CV30044

Defendant(s): L&B CIP BELLEVIEW PROMENADE, LLC, Division: 18
a Delaware Limiled Liability Comoration, and CBRE GWS ,
Real

Estate Services, Inc., a Connecticut Corporation, Jointly and
Severally

Courtroom:

 

 

 

 

DISTRICT COURT CIVIL SUMMONS

 

TO THE ABOVE NAMED DEFENDANT: L&B CIP BELLEVIEW PROMENADE. LLC, a Delaware

Limited Liability Corporation, and CBRE GWS Real Estate Services, inc., a Connecticut
Corporation, Jointly and Severally

 

YOU ARE HERESY SUMMONED and required to file with the Clerk of this Court an answer or other response te
the attached Complaint If service of the Summons and Complaint was made upon you within the State of
Colorado, you are required to fite your answer or other response within 21 days after such service upon you. if
service of the Summons and Complaint was made upon yau oulside of the State of Colorado, you are required to
file your answer or other response within 35 days after such service upon you. Your answer or counterclaim must
be accompanied with the applicable filing fee.

If you fail to file your answer or other response to the Complaint in writing within the applicable time period, the

Court may enter judgment by defauit against you for the retlaf demanded in the Complaint without further notice.
Dated: { g 2ul

Clerk of Court/Cigrk

 

   
 
   

Signblure of Attome

P.O, Box 3364
Address of Attorney for Plaintiff

 

ee, it f 0

(303)-333-7703
Attorney for Plaintiffs Phone Number

This Summons is issued pursuant to Rule 4, €.R,C.P,, as amended. Acopy of the Complaint must be
served with this Summons. This form should not be used where service by publication is desired.

JOF 600 10-13 DISTRICT COURT CIVIL SUNMAONS

 

 
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WARNING: A valid summons may be issued by a lawyer and it need nol contain a court case number, the
signature of a court officer, or a court seal, The plaintiff has 14 days from the dale this summons was served on
you to file the case with the court. You are responsible for contacting the court to find out whether the case has
been filed and obfain the case number. If the plainliff files the case wilhin this time, (hen you must respond as
explained in this summons. If the plaintiff files more than 14 days after the date the summons was served an you,
the case may be dismissed upon motion and you may be entitled to seek attorney's fees from the plaintiff.

TO THE CLERK: If ihe summons is issued by the clerk of ihe court, the signature block for the clerk of deputy
should be provided by stamp, or lypewriter, in the space to the {eft of the attorney's name.

JDF 600 RIG-13 DISTRICT COURT CIVIL SUMMONS

 

 
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DISTRICT COURT, COUNTY OF ARAPAHOE

STATE OF COLORADO DATE FILED: January 8, 2019 10:47/AM
FILING ID: 53BI2FC3AE3CD

7325 South Potomac Street, Centennial, Colorado 80112 CASE NUMBER: 2019CV30044

 

Raymond Khan,

Plaintiff,
Vv. & COURT USE ONLY A
L&B CIP BELLEVIEW PROMENADE, LLC, a Delaware Case Number

Limited Liability Corporation, and CBRE GWS Real
Estate Services, Inc., a Connecticut Corporation, Jointly
and Severally,

Defendants
Division:

 

[. Edward Huttner, #14138

Huttner & Hutiner

P.O, Box 3364

Greenwood Village, Colorado 80155
(303) 333-7703

(303) 333-7706 (fax)

 

 

COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

 

 

 

COMES NOW the Plaintiff, Raymond Khan by and through his attorney, I. Edward
Huttner and the law firm of Huttaer & Hutiner, an attorney duly licensed to practice law in the
State of Colorado, and submits this, his Complaint for Damages and Demand for Jury Trial, and
does state and allege as follows:

INTRODUCTORY ALLEGATIONS

1. The Plaintiff is an individual who is a resident and domiciliary of the City and
County of Denver, State of Colorado.

2, The Defendant, L&B CIP BELLEVIEW PROMENADE, LLC, is a Limited
Liability Company formed under the laws of the State of Delaware, At all limes pertinent herein,
L&B CIP BELLEVIEW PROMENADE, LLC, hereinafter referred to as Belleview Promenade,
is the fee simple owner and operator of a shopping center located at 8000 East Belleview Avenue

 

 
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in the County of Arapahoe, State of Colorado. The shopping center is commonly known as
Belleview Promenade.

3. The Defendant, CBRE GWS Real Estate Services, Inc. is a Corporation formed
under the laws of the State of Connecticut. At all times pertinent herein, CBRE GWS Real
Estate Services, Inc., hereinafter referred to as CBRE, operated, managed, and controlled the
shopping center located at 8000 East Belleview Avenue commonly known as Belleview
Promenade which is located in the County of Arapahoe, State of Colorado.

4, On or about January 17, 2007, the Plaintiff was a customer and business invitee to
Belleview Promenade, located at 8000 East Belleview Avenue in the County of Arapahoe, State
of Colorado.

5. On or about January {7, 2017, a dangerous and hazardous condition existed on

the common area sidewalks of the premises owned by Defendant Belleview Promenade and
operated and maintained by Defendant CBRE. The dangerous condition was at the front entrance
to numerous tenants the shopping center including Bar Louie and ImageMD. ‘The ice and
hazardous condition was a foreseeable hazard in the clear view of the owners and operators who
failed to remove the condition prior to the Plaintiff entering the business premises during normal
business hours. There were no posted warnings, signs, cones, or any personnel to assist patrons
in avoiding the hazard.

6. That on or about January 17, 2017, during normal business hours, the Plaintiff,
while a customer of the shopping center, having parked in the designated parking area, in front of
the business establishment known as Bar Louie, walked onto the sidewalk in front of the
establishment and slipped and fell on a sheet of ice that extended the length of the sidewalk.
The sidewalk was solid ice unsafe. The design and drainage was such that ice at this location
was clearly foreseeable and known to the Defendants and the Defendants took no action to
remove the ice or warn of its hazards.

7, That, as a result of the unsafe and dangerous condition on the premises, Plaintiff
slipped and fell and suffered traumatic injuries.

8. This Court has jurisdiction over the subject matter of this action and the parties
hereto and venue is proper in the County of Arapahoe, as the accident occurred in Arapahoe
County.

FIRST CLAIM FOR RELIEF
(Premise Liability C.R.S. § 13-21-115)
9. Plaintiff incorporates herein alf allegations contained in paragraphs | through 8 in

the Introductory Allegations.

 

 
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10. Plaintiff alleges that by the Defendants unreasonable failure to exercise
reasonable care with respect to dangers created by the landlord, of which the landlord knew or
had reason to know, were the direct and proximate cause of the damages and injuries sustained
by Plaintiff.

ll. Plaintiff alleges that by the Defendants unreasonable failure to warn of dangers
not created by the Defendants, which are not ordinarily present on the property of the type
involved in this action but are of which the landlord actually knew, are the direct and proximate
cause of the injurics suffered and sustained by Plaintiff.

12.‘ Plaintiff alleges that the Defendants are jointly and severally liable and
responsible for the injuries sustained by Plaintiff.

13. Plaintiff alleges that pursuant to C.R.S. § 13-21-115 5(a), that Plaintiff at all time
pertinent herein was an “invitee” in that the sole and exclusive purpose for Plaintiffs entry onto
Defendants property was for the purpose to transact business.

14, Plaintiff alleges that there was no alternative route or ingress to access the
shopping malis tenants other than the sidewalks utilized by the Plaintiff.

IS,  PJaintiif alleges that the Defendants has an affirmative duty to maintain their
premises in a manner to protect Plaintiff from known conditions on the premises which created a
risk of injury or damages to Plaintiff and failed to cure the condition or warn the Plaintiff that
such a condition existed at its front entrance.

16.‘ That as a direct, immediate and proximate result of the Defendant’s breach of its
duty as alleged in Paragraph 15 above, conditions occurred on the premises located at 8000 East
Belleview Avenue in the County of Arapahoe, State of Colorado, which caused Plaintiff to slip
and fall and suffer traumatic injuries, loss, and damages.

17. Plaintiff has suffered damages, great pain, aggravation of prior injuries, bruising,
suffering, discomfort, emotional distress, and loss of income as a result of Defendant’s
negligence and/or breach of duty in their use of their business premises.

{8. Asa direct, immediate and proximate result of the Defendant’s negligence and/or
breach of duty, the Plaintiff has incurred medical, therapeutic, and physician expenses.

19. Asa direct, immediate and proximate result of the Defendant’s negligence and/or
breach of duty, the Plaintiff has lost the ability to enjoy life as he did before the incident and loss
of income.

WHEREFORE, on account of the matters set forth in the First Claim For Relief,
Plaintiff Raymond Khan prays for a judgment in favor of the Plaintiff, Raymond Khan, and
against the Defendants, L&B CIP BELLEVIEW PROMENADE, LLC, a Delaware Limited
Liability Corporation, and CBRE GWS Real Estate Services, Inc., a Connecticut Corporation,

 

 
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Jointly and Severally, in an amount which will fully compensate him for his injuries and
damages in the past, present and future including for past, present and future medical expenses,
for past, present and future pain and suffering, for personal injuries, for loss of income, for
emotional distress, for loss of the ability to enjoy life as he did before the accident, and for other
non-economic damages, for interest on such sums as is provided by law, for attorneys’ fees,
expert wilness fees, costs and for such other and further relief as this Court deems proper in the
premises.

PLAINTIFF DEMANDS A TRIAL BY JURY
DONE this 8th day of January, 2019.
Respectfully submitted,
HUTTNER & HUTTNER

Original duly signed and on file
at the office of Plaintiff's Counsel

 

I, Edward Huttner, #14138
Attorney for Plaintiff

Plaintiff's Address —

Raymond Khan
2105 Grove Street
Denver, Colorado 80211]

 

 
